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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

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In re: Case No. 04-17602-BKC-AJC

E.S. BANKEST, L.C.,

 

 

Debtor / aon
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LEWIS B. FREEMAN, Responsible Officer Adv. Pro. No. 06-01220-BKC-AJ C-AY - -
for the Reorganized Debtor E.S. Bankest, a Ppt
L.C., a Florida limited liability corporation, ws ™> : |
Plaintiff, SS | -
Ss fr
Vv. cn
G3 |
cto
BDO SEIDMAN, LLP, BDO v8

INTERNATIONAL B.V., SANDOR
LENNER and KEITH ELLENBERG,

Defendants. /
DEFENDANT BDO GLOBAL COORDINATION BV’S UNOPPOSED MOTION FOR
LEAVE TO AMEND ITS ANSWER TO THE COMPLAINT

AND
INCORPORATED MEMORANDUM OF LAW

Defendant BDO Global Coordination B.V.' (“BDO BV”) respectfully submits its
Unopposed Motion for Leave to Amend Its Answer to the Complaint and Incorporated
Memorandum of Law in support of its motion for an order,” pursuant to Federal Rules of Civil
Procedure (“FRCP” or “Rules”) 15(a), 16(b), Federal Rules of Bankruptcy Procedure (“FRBP”)
§ 7015 and Local Bankruptcy Rule 9013-1(C)(1), granting BDO BV leave to amend its answer

to Plaintiff's complaint, to assert the affirmative defenses of res judicata and collateral estoppel;

 

" BDO Global Coordination B.V. was formerly known as BDO International B.V.
* A proposed order is attached as Exhibit 3.

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the attached Declaration of Mark F. Raymond, Esq. in support of its motion, sworn to on March
23, 2007, (“Raymond Decl.” (attached as Exhibit 1)); and the exhibits annexed thereto. For all
of the reasons set forth herein, BDO BV respectfully requests that its unopposed motion be

granted.

PRELIMINARY STATEMENT

Defendant BDO BV seeks leave to amend its answer to assert the affirmative defenses of
res judicata and collateral estoppel on the basis of a final judgment issued in favor of BDO BV
in the Florida State Court action of Banco Espirito Santo International, Ltd., et al. v. BDO
Seidman, LLP, et al., Case No. 04-14009 CA 31 (“State Court Action”). The final judgment for
directed verdict on the issue of agency was entered approximately 3 weeks ago by the Court in
the State Court Action. At the time that BDO BV answered the Complaint in this action, the
affirmative defenses of res judicata and collateral estoppel were not available to BDO BV. In
light of the recent judgment, BDO BV now has good cause, pursuant to Rules 15(a) and 16(b), to
seek to amend its answer to add these new defenses.

Counsel for BDO BV has communicated with Warren R. Tranzenfeld, Esq., counsel for
Plaintiff, regarding this motion. Mr. Tranzenfeld advised that Plaintiff consented to filing the

amended answer.

STATEMENT OF FACTS
A. The State Court Action
On June 28, 2004, Banco Espirito Santo International, Ltd. (‘BESIL”), ESB Finance,
Ltd. (“ESB Finance”) and Banco Espirito Santo S.A (Nassau Branch) (“Nassau Branch”)

(collectively “State Court Plaintiffs”), filed a Complaint in the State Court Action against BDO

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Seidman, LLP (“BDO Seidman”) and BDO BV asserting only one cause of action for
“Professional Negligence, i.e. Malpractice.” The Complaint was later amended with the filing of
a First Amended Complaint (the “State Court Action Complaint”) on or about July 7, 2006. See
Raymond Decl. § 3, Exhibit A at f{] 76-83. The claims in the State Court Action Complaint
arose from allegations that BDO Seidman was negligent in providing auditing and accounting
services to E.S. Bankest, L.C. (“Bankest”) between 1998 and 2003 by failing to detect a fraud
perpetrated by the principals of Bankest. Jd. The State Court Plaintiffs sought judgment for
“actual compensatory and consequential” damages from both BDO Seidman and BDO BV of
over $170 million. /d. at § 83 and Prayer for Relief. However, the claims against BDO BV were
later limited by the Court strictly to “a theory of actual agency.” See Raymond Decl. § 4-5,
Exhibit B (Order dated July 8, 2005).

In January 2007, the State Court Action proceeded to trial and, on February 27, 2007,
State Court Judge Jose Rodriguez granted BDO BV’s motion for directed verdict. See Raymond
Decl. § 6, Ex. C (Order entered February 27, 2007). In granting the directed verdict, the Court
found that the State Court Plaintiffs failed to introduce evidence establishing the elements of its
agency claim against BDO BV. See id.
B. Adversary Proceeding

On February 23, 2006, Bankest’s Responsible Officer, Lewis Freeman, filed this
Adversary Proceeding in Bankruptcy Court (“Adversary Proceeding”). See Raymond Decl. 4 7,
Exhibit D (Adversary Complaint). In the Adversary Proceeding, Freeman seeks to recover the
same $170 million in damages that were sought by the State Court Plaintiffs. Id. at 9] 77-116.
The Adversary Complaint asserts the following five claims on behalf of Bankest against BDO

BV: (1) professional malpractice (Count I); (2) vicarious liability as principal of agent Seidman

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(Count IT); (3) deceptive and unfair trade practices (Count III); (4) aiding and abetting breach of
fiduciary duty (Count IV); and (5) violation of U.S. Securities Law (Count V) (the “Securities
Fraud Claim”). Jd. Nearly all of Bankest’s claims against BDO BV are based upon alleged
vicarious liability for the accounting services provided by BDO Seidman — the very same
accounting services that were the subject of the State Court Action. Jd. at {| 69-76.

On or about October 9, 2006, BDO BV filed its Answer to the Adversary Complaint and
asserted a number of affirmative defenses. At that time, the directed verdict had not yet been
entered and BDO BV could not have asserted the affirmative defenses of res judicata or
collateral estoppel. See Raymond Decl. § 8, Exhibit E (Answer).

On October 12, 2006, the Bankruptcy Court entered an Amended Order Setting Filing
Disclosure Requirements for Pretrial and Trial (“Pretrial Order”), thereby placing the Adversary
Proceeding on the court calendar. See Raymond Decl. 9, Exhibit F (Scheduling Order). On
February 28, 2007, Plaintiff filed a Motion to Extend Time for Parties to Comply with Certain
Disclosure Requirements and Request Status Conference (“Motion to Extend”), in which it seeks
to have all deadlines set forth in the Pretrial Order extended until the completion of the State
Court Action. See Raymond Decl. § 10. The Bankruptcy Court has set a hearing on Plaintiff's
Motion to Extend for March 28, 2007 at 10:00 a.m. See id.

DISCUSSION

A. Defendant BDO BV has Good Cause to Amend its Answer

 

Federal Rule of Civil Procedure 15(a) provides that "leave [to amend a pleading] shall be
freely given when justice so requires." Fed. R. Civ. P. 15(a). Moreover, the Federal Rules of
Bankruptcy specifically state that Rule 15(a) applies to adversary proceedings. Fed. R. Bankr. P.

§ 7015; see also Kontrick v. Ryan, 540 U.S. 443, 445, 124 S.Ct. 906, 909 (2004) (discussing that

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Fed. Rule Civ. Proc. 15 (a) has been made applicable to adversary proceedings by FRBP §
7015). When a motion to amend is made after the Court establishes a pretrial scheduling order,
the moving party "must first demonstrate good cause under Rule 16(b) before [the court] will
consider whether amendment is proper under Rule 15(a)." Sosa v. Airprint Sys., Inc., 133 F.3d
1417, 1419 (11th Cir. 1998). In order to establish good cause, the movant must show
"compelling reasons" why the proposed amendment could not have been presented earlier. See
Hargett v. Valley Fed. Sav. Bank, 60 F.3d 754, 761 (ith Cir. 1995).
BDO BV has a compelling reason why it could not assert the affirmative defenses of res
judicata and collateral estoppel at the time it filed its answer. In order to succeed on the
affirmative defenses of res judicata and collateral estoppel, a party must establish that the same
issues or claims alleged in the current action were already adjudged in a previous action. See
Rhyne v. Miami-Dade Water and Sewer Authority, 402 So. 2d. 54, (Fla. 3d DCA 1981) (“the
doctrine of res judicata bars a second action between the same parties or their privies on the
same issues decided below”); see also Quinn v. Monroe County, 330 F.3d 1320 (11th Cir. 2003)
(listing the elements of collateral estoppel: “(1) identical issue, (2) has been fully litigated, (3) by
the same parties or their privies, and (4) final decision has been rendered by a court of competent
jurisdiction”) (emphasis added). At the time BDO BV filed its Answer, final judgment had not
yet been rendered in BDO BV’s favor in the State Court Action and, therefore, BDO BV could
not have asserted res judicata and collateral estoppel in its Answer. As a result, BDO BV has
good cause under Rule 16(b) to seek leave to amend its Answer and to assert the new affirmative
defenses of res judicata and collateral estoppel. See e.g. McKibben v. Zamora, 358 So.2d 866,

868 (Fla. 3rd DCA 1978) (noting that defendants were permitted to amend answer in second

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action to assert affirmative defenses of res judicata and collateral estoppel after issuance of a

final judgment in first action).

B. The Federal Rules of Civil Procedure Provide that Leave to Amend an Answer Shall
be Freely Granted

Courts have typically found that “amendments to add claims are to be granted more
freely than claims to add new parties.” Cox v. Krueger Intern., Inc., No. 6:05-cv-1210-Orl-18
(JGG), 2007 WL 430726, at *1 (M.D. Fla. 2007) (citations omitted). Moreover, “[t]he Court
views amendments to add affirmative defenses as being analogous to amendments to add
claims.” Cox, 2007 WL 430726, at *1.

Here, because of the liberal amendment policy of Rule 15(a), and since BDO BV is
merely seeking to add defenses, BDO BV should be permitted to amend its Answer to assert the
affirmative defenses of res judicata and collateral estoppel. As discussed above, at the time it
filed its Answer, the affirmative defenses of res judicata and collateral estoppel were not
available to BDO BV. Now that a final judgment has been rendered in the State Court Action,
the defenses are available to BDO BV and these defenses could potentially preclude litigation of

the claims asserted by Plaintiff.

C. The Factors that Court’s Typically Rely Upon to Deny Requests to Amend
Pleadings do not Exist in this Action

While Rule 15(a) provides for the liberal amendment of pleadings, a Court may deny
leave to amend when the proposed amendment is sought “after undue delay . . . [for] bad faith or
dilatory motive, if the amendment would cause [Plaintiff] undue prejudice, or if the amendment
would be futile” Edwards v. Niles Sales & Service, Inc., 439 F. Supp. 2d 1202, 1209 (M.D. Fla.

2006) (citing Foman v. Davis, 371 U.S. 178, 182, 83 S.Ct. 227, 230 (1962).

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In this case, none of the potential reasons for denying the proposed amendments exist.
First, BDO BV has not unduly delayed its request for leave to amend. The final judgment in
favor of BDO BV in the State Court Action was only rendered on February 27, 2007, less than
three weeks ago. Bringing this request now could hardly be considered undue delay. See e.g. In
re NuMed Home Health Care, Inc., 326 B.R. 859, 865 (Bankr. M.D. Fla. 2005) (granting leave
to amend and finding that a delay of 3 %4 months, in seeking leave to amend, was reasonable)
(emphasis added). Second, BDO BV has not exhibited any bad faith in bringing this request now
since this is the earliest occasion on which the claims could have been brought. Third, the
addition of these affirmative defenses will not unduly prejudice Plaintiff because BDO BV did
not delay its request for leave, Plaintiff was already on notice of the judgment in the State Court
Action and no additional discovery will be needed to defend these claims since Plaintiff is
already privy to the relevant documents and orders from the State Court Action. To the contrary,
if these additional affirmative defenses are not permitted, it will be BDO BV who is prejudiced
because it will be forced to relitigate the exact same issue, brought by the same parties, a second
time. Finally, the proposed amendments are not futile because they are potentially dispositive of

Plaintiff's claims against BDO BV.

CONCLUSION

For the aforementioned reasons Defendant BDO BV respectfully requests that the Court
issue an order granting Defendant BDO BV leave to amend its Answer and directing that the
proposed First Amended Answer, attached as Exhibit 2 to the BDO BV’s Unopposed Motion for
Leave to Amend its Answer, shall be deemed filed and served as of March 23, 2007.

Dated: Miami, Florida
March 23, 2007

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CERTIFICATION PURSUANT TO LOCAL RULE 9013-1(c)(1)
I HEREBY CERTIFY that Plaintiff, the affected party, has consented to the requested
relief.
I FURTHER CERTIFY that I am admitted to the Bar of the United States District Court
for the Southern District of Florida and I am in compliance with the additional qualifications to

practice in this court as set forth in Local Rule 2090-1(A).

Respectfully submitted,

BROAD AND CASSEL

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on March 23, 2007 I filed the foregoing document
with the Clerk. I also certify that the foregoing document is being served this day on all counsel
of record or pro se parties identified in the attached Service List in the manner specified.

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EXHIBIT 1
 

 

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
www.flsb.uscourts.gov
In re: Case No. 04-17602-BKC-AJC

E.S. BANKEST, L.C.,
Debtor /

LEWIS B. FREEMAN, Responsible Officer Adv. Pro. No. 06-01220-BKC-AJC-A
for the Reorganized Debtor E.S. Bankest,
L.C., a Florida limited liability corporation,

Plaintiff,

Vv.

BDO SEIDMAN, LLP, BDO
INTERNATIONAL B.V., SANDOR
LENNER and KEITH ELLENBERG,

Defendants. /
DECLARATION OF MARK F. RAYMOND IN SUPPORT OF

DEFENDANT BDO GLOBAL COORDINATION B.V.’S
UNOPPOSED MOTION FOR LEAVE TO AMEND ITS ANSWER

I, Mark F. Raymond, being duly sworn, declare under penalty of perjury that the

foregoing is true and correct and state as follows:

1. I am an partner in the law firm Broad and Cassel, attorneys for Defendant BDO

International B.V. n/ka BDO Global Coordination B.V. (“BDO BV”). I submit this Declaration

in support of BDO BV’s motion for an order granting BDO BV leave to amend its answer in this

action and directing that the proposed First Amended Answer, attached as Exhibit 2 to the

Motion, shall be deemed filed and served as of March 23, 2007.

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2. T am fully familiar with the facts and circumstances set forth herein. This
Declaration is based upon my personal knowledge and my review of the relevant documents in
this case.

3, Attached as Exhibit A is a true and correct copy of the First Amended Complaint
filed on or about July 7, 2006, in the Florida State Court action of Banco Espirito Santo
International, Ltd., et al. v. BDO Seidman, LLP, et al., Case No. 04-14009 CA 31 (“State Court
Action’).

4. On March 29, 2005, BDO BV moved to dismiss the Complaint in the State Court
Action for failure to state a cause of action against BDO BV, arguing that the Complaint did not
allege sufficient facts to establish that BDO BV provided professional services in Florida or that
it owed any duty to Plaintiffs. On April 27, 2005, the parties entered into an Agreed Order
converting BDO BV’s motion to dismiss for failure to state a cause of action into a motion for
judgment on the pleadings. On July 8, 2005, the Court denied BDO BV’s motion for judgment
on the pleadings, but expressly limited Plaintiffs’ claim against BDO BV strictly to “a theory of
actual agency.”

5. Attached as Exhibit B is a true and correct copy of the order entered in the State
Court Action on July 8, 2005, limiting Plaintiffs’ claims against BDO BV strictly to ‘‘a theory of
actual agency.”

6. Attached as Exhibit C is a true and correct copy of the Order entered by Judge
Jose Rodriguez in the State Court Action on February 27, 2007, granting BDO BV’s motion for a

directed verdict.

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7. Attached as Exhibit D is a true and correct copy of the complaint filed on
February 23, 2006, in the United States Bankruptcy Court for the Southern District of Florida, in
the action of Jn re E.S. Bankest L.C., Case No. 04-17602-BAK-AJC (“Adversary Proceeding”).

8. Attached as Exhibit E is a true and correct copy of the answer filed by BDO
Global in this Adversary Proceeding.

9. Attached as Exhibit F is a true and correct copy of the Order entered on October
12, 2006 by this Court “Setting Filing Disclosure Requirements for Pretrial and Trial” (“Pretrial
Order’), thereby placing the Adversary Proceeding on the court calendar.

10. On February 28, 2007, Plaintiff filed a Motion to Extend Time for Parties to
Comply with Certain Disclosure Requirements and Request Status Conference (“Motion to
Extend”), in which it seeks to have all deadlines set forth in the Pretrial Order extended until the
completion of the State Court Action. The Court has set a hearing on Plaintiff's Motion to

Extend for March 28, 2007 at 10:00 a.m.

] declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct and that I executed this declaration on March 23, 2007 at Miami, .....

   

Florida. \ ull CC rt

"Mark F, Raymond

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EXHIBIT A
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IN THE CIRCUIT COURT OF THE
ELEVENTH JUDICIAL CIRCUIT, IN AND
FOR MIAMI-DADE COUNTY, FLORIDA

BANCO ESPIRITO SANTO Case No. 04-14009 CA 31
INTERNATIONAL, LTD., ESB
FINANCE, LTD. and BANCO
ESPIRITO SANTO S.A. (Nassau

Branch),
Plaintiffs,
vs.

BDO SEIDMAN, LLP and BDO
INTERNATIONAL B.V.,

Defendants.

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FIRST AMENDED COMPLAINT

Plaintiffs Banco Espirito Santo International, Ltd. (‘BESIL”), ESB Finance, Ltd. (“ESB
Finance”) and Banco Espirito Santo S.A. (Nassau Branch) (“Nassau Bank”), by and through
their attorneys and for their Complaint against defendants BDO Seidman, LLP and BDO
International B.V. (together, “BDO”), allege, upon knowledge as to themselves and their conduct
and information and belief as to all other matters, as follows:

INTRODUCTION

1. As is now clear in the post-Enron, post-Arthur Andersen world, accounting is
supposed to be a profession, which means that accountants’ rich compensation comes with
corresponding duties to follow the industry’s rules. These rules exist to protect those who rely

on the accountants’ work.
2. BDO violated its duties and harmed those its profession is designed to protect. It

rubber-stamped four years worth of obviously false financial statements, causing plaintiffs to be

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bilked out of more than $170 million. Moreover, BDO did so while it was — or because it was
— a strategic ally of an affiliated company that was used to falsify the very financials BDO was
“independently” auditing.

3. E.S. Bankest L.C. (“Bankest”) was formed in 1998 by Espirito Santo Bank
(“Bank”) and Bankest Capital Corporation (“Capital”). Pursuant to the formation agreements
entered into by the Bank and Capital, Capital’s management, Hector Orlansky, Eduardo
Orlansky, Dominick Parlapiano and Peter Stanham (collectively, the “Principals”), were
entrusted with the day-to-day management of Bankest. Bankest’s business was supposed to be
“factoring” — the purchase of accounts receivable at a discount to their face value. Bankest was
supposed to earn money through factoring fees, interest and the spread between the receivables’
invoiced face amount and the discount price paid for the receivables.

4. However, Bankest did almost no legitimate factoring and was instead used as a
vehicle to funnel money from the Bank’s investor clients to the Principals. The scheme was
straightforward: using BDO audited financials, Bankest debenture notes were placed with
individual clients of the Bank (“Noteholders”) and ultimately with Plaintiffs; Capital created a
series of inflated or non-existent receivables from shell or start-up companies which it then sold
(or arranged for the sale of) to Bankest. The Noteholders ended up holding worthless notes
secured by the falsified and equally-worthless receivables, while Capital ended up with the
Noteholders’ cash. By the time the Principals were indicted by a Grand Jury on December 4,
2003, they had mined in excess of $170 million out of Bankest, which they had invested in start-
up companies, filtered out to its strategic alliance partners, or simply absconded with.

5. Because their scheme was so transparent, Capital and its Principals required the

cooperation and/or tacit agreement of several persons, but none more than its independent

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auditors. Bankest was contractually required to provide annual audited financial statements to its
shareholders, and its business plan confirmed that these audited financials would be used to
attract and be relied on by lenders to finance the business. Accordingly, the Principals needed an
independent auditor who would either not discover its manipulations of the accounts receivable
or else look the other way when it falsified its financial statements.

6. The Principals found their shill in BDO. In conducting its audits of Bankest’s
financial statements for the years ended 1998 through 2002, BDO ignored required auditing
procedures and a series of red flags highlighting the Principals’ deceptions, including that
Bankest: (a) provided little or no information about the entities from whom it was purportedly
purchasing receivables, including the supposed $50 million per year T-shirt manufacturer that
was its largest “client”; (b) received little or no confirmation of the debts owed from any of the
supposedly factored companies; (c) could produce few or no bank records supporting the
deposits Capital claimed debtors were making in Bankest’s accounts; (d) produced no evidence
of any internal standards of underwriting; (e) was allegedly processing some $200 million in
receivables with only four employees in its accounting department; and (f) showed on paper a
doubling of its factoring business each calendar year. In so doing, BDO abandoned its stated,
contractual goal of “provid[ing] reasonable assurance of detecting errors or fraud that would
have a material effect on the financial statements” and ignored its own determination that
Bankest was a “sensitive” or high risk client.

7. Worse still, BDO’s ignorance proved voluntary. During the conduct of its first
audit for Bankest, BDO, as it was obliged, noted and raised several documentation issues with
the Principals and sought additional backup materials for testing. When the Principals protested,

however, and BDO was faced with the threat of losing Bankest’s business, BDO buckled; it

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accepted without protest the Principals’ steadfast refusal to provide Capital’s basic banking
records that BDO had deemed necessary for the conduct of the audits; BDO relied, often
exclusively, on summary financial information provided by the Principals; it accepted audit test
results signed by the Principals (or others controlled by them) instead of the independent, third-
party companies that allegedly owed the debts; it ignored a series of scope violations when
denied access to Capital’s records and personnel; it declined adequately to test nearly every
material account receivable and ignored basic (and generally accepted) auditing standards in the
conduct of its audits.

8. Finally, BDO’s ignorance was financially motivated. BDO was, by agreement, a
strategic ally of StrataSys Group LLC (“StrataSys”), one of the principal companies for which
Bankest supposedly factored receivables and which was owned by Dominick Parlapiano, one of
the Principals. Bankest purported to factor over $40 million worth of StrataSys receivables, but
in fact StrataSys had no real receivables and negligible sales. Instead, StrataSys used the more
than $40 million in checks and wire transfers it received from Bankest to fund its operations,
including by paying BDO “licensing fees,” “methodology fees,” “management fees,” “business
development revenues,” and “product development revenues.” Not surprisingly, and despite
having full access to StrataSys’s books and records, BDO never discovered — or at least never
disclosed — that the financials showing fictitious receivables being factored from StrataSys were
fraudulent.

9. In short, BDO sacrificed its professional responsibilities for money. In so doing,
BDO reneged on its obligations as professionals to profound effect: it cost the persons who
relied on BDO — and who BDO knew would be relying on it — in excess of $170 million. By

this action, those persons, plaintiffs, seek to hold BDO accountable for that loss.

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PARTIES, JURSIDCTION AND VENUE

10. Plaintiff Banco Espirito Santo International, Ltd. is a corporation organized under
the laws of the Cayman Islands with its principal place of business in Grand Cayman, British
West Indies.

11. Plaintiff ESB Finance, Ltd. is a corporation organized under the laws of the
British Virgin Islands with its principal place of business in Lausanne, Switzerland.

12, Plaintiff Banco Espirito Santo S.A. (Nassau Branch) is a corporation organized
under the laws of Portugal with its principal place of business in Nassau, Bahamas.

13. Defendant BDO Seidman, LLP (“BDO Seidman”) is a professional accounting
firm organized as a limited liability partnership under the laws of the State of New York and
registered in Florida as a foreign limited liability partnership. BDO Seidman provides assurance,
tax, financial advisory, and consulting services out of 37 offices including an office in Miami,
Florida. As a member firm of BDO International, BDO Seidman serves clients by leveraging a
global distribution network of resources comprised of nearly 600 member firm offices in 99
countries. BDO Seidman is a citizen of Florida because partners of BDO Seidman reside here.

14, Defendant BDO International B.V. (“BDO International”) is a corporation
organized under the laws of the Netherlands with its principal place of business in Brussels,
Belgium. BDO International is one of the five largest multinational accounting and consultancy
firms, and operates in 99 countries through its member firms, including BDO Seidman in the
United States. BDO International reports its revenues on a worldwide basis and, as admitted on
its web site, considers the clients of its member firms to be clients of BDO International, and the

work of its member firms to be its own.

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15. BDO International’s contacts with Florida are regular, profitable and purposeful.
As alleged in the complaint, BDO International derives revenue from BDO Seidman, including
BDO Seidman’s Florida offices, for its marketing and quality control functions, and clients of
BDO Seidman are considered clients of BDO International. International’s Chief Executive
Officers have conceded that “the business of International . . . is conducted in each country
where International is represented.” Moreover, as part of its marketing function, BDO
International maintains a web site on which it represents to Florida residents that it supports its
American offices, and ensures consistency of representation throughout each of its member firms
by providing an “internationally available suite of software” as well as “model checklists and
financial statements,” producing a “world wide [audit] procedures Manual,” and subjecting “fa]ll
member countries . . . to regular practice inspections to ensure these standards are being adhered
to.” In short, BDO International purports to “set standards on such matters as independence,
confidentiality, training requirements and quality control” as to all its member firms including
BDO Seidman — the very quality controls that are the subject of this Complaint.

16, This Court has subject matter jurisdiction over this action because the amount in
controversy exceeds $15,000 exclusive of interest, costs, and attorneys’ fees. This Court has in
personam jurisdiction over BDO Seidman LLP because it conducts business and maintains its
business address at 100 S.E. 2™ Street, Miami, Florida, and has in personam jurisdiction over
BDO International, B.V. pursuant to Fla. Stat. § 48.193.

17. Venue is proper in this circuit because the cause of action accrued in Miami-Dade

County, Florida.

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SUBSTANTIVE ALLEGATIONS
A. The Relationship Between Bankest, Capital and the Bank

18. | Bankest was formed in March 1998 pursuant to the Shareholders’ Agreement
executed by Capital and the Bank (“Shareholders’ Agreement”). Per that agreement, together
with the remaining formation documents executed concurrently therewith, the Bank and Capital
each initially owned 50% of the outstanding shares of Bankest. Bankest’s business model
purportedly was to obtain capital through the issuance of debenture notes and then to use the
capital to purchase receivables to factor.

19. From inception, the respective responsibilities of Bankest’s two shareholders were
clear. Prior to the formation of Bankest, Capital had for many years engaged in the commercial
factoring business in its own name and through its wholly owned subsidiary, Bankest
Receivables Finance and Factoring Corp. (“BRFFC”). Accordingly, and at Capital’s request, the
Shareholders Agreement provided that the day-to-day management of Bankest would be
entrusted to Capital’s Principals, Eduardo Orlansky, Hector Orlansky, Dominick Parlapiano and
Peter Stanham.

20. Also per the Shareholders’ Agreement, funding for Bankest would be provided
pursuant to the issuance of debenture notes. Individual clients of the Bank and some of its
affiliates were provided Private Placement Memoranda describing the business of Bankest and
Bankest financials audited by BDO. The Bank agreed to use its best efforts to place the
debentures described in the placement memorandum (the “Debenture Notes”) issued by Bankest
to various individuals, who would then, per plan, advance and loan money to Bankest. By

September 2002, Bankest had approximately $140 million dollars outstanding under the

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Debenture Notes. The Debenture Notes were secured by a blanket assignment of the accounts
receivable purchased by Bankest.

21. In addition, the Nassau Bank, also in reliance upon the integrity of BDO’s audited
financials, and with BDO’s knowledge, extended a $30 million dollar line of credit to Bankest
(the “Bank Line’), The Bank Line is fully drawn and is also secured by Bankest’s portfolio of
accounts receivable on a pari-passu basis.

22. To maintain adequate collateral to secure the Debenture Notes and the Bank Line,
Bankest was prohibited by the formation agreements from advancing funds to its factoring
clients in amounts greater than 80% of the face amount of the legitimate accounts receivable it
purchased from those clients.

B. Factoring: The Business of Bankest

23. Bankest was supposed to use the funds loaned to it to engage in the commercial
factoring business. A “factor” is a type of financing company that purchases accounts receivable
at a discount, earning money through factoring fees, interest and the spread between the
receivables’ face amount and the discounted price paid for them. Typically, and in consideration
of the aforementioned fees, interest and spread, the factor assumes the risk that debtors will not
pay the invoices that comprise an account receivable.

24. By its own design, pursuant to the Shareholders’ Agreement, Bankest was
intended to be a particular brand of factor, namely “a non-regulated, collection-based factor” that
“purchase[s] receivables acquired by manufacturers and sellers of tangible goods and/or services
in the regular course of business conducted by such manufacturers and sellers.” In addition to
generating income, the receivables Bankest purchased through its factoring business served as

collateral for the Debenture Notes.

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25. Bankest also served as a “refactor.” As of 1998, Capital had for several years
already been engaged in the commercial factoring business through BRFFC, whose business
model was identical to Bankest’s: sell notes and use the proceeds to factor receivables. Upon
Bankest’s formation, Capital transferred BRFFC’s interest in its receivables to Bankest,
discontinued its separate factoring business and agreed to undertake all new factoring business
through Bankest. To the extent that BRFFC was obliged by prior agreements to continue serving
as the principal factoring company for various clients, Bankest “refactored” the accounts
receivable initially purchased by Capital, BRFFC, or another Capital-affiliate.

26. Beginning in 1998, Bankest, Capital and BRFFC entered into a series of factoring
agreements (some of which were then refactored through Bankest) with a number of entities
which were either managed or owned by Capital’s Principals. These included Joy Silk Screen,
Inc. and Joy Athletic, Inc. (“Joy”), Florida-based athletic clothing businesses, Stratesec, Inc., a
Virginia-based technology company, Enterprise Network Applications (“ENA”), a Georgia-
based software business, and CD JewelBox Company (“CD JewelBox”), a purported Florida-
based compact disk case manufacturer which in actuality did not exist. Bankest also entered into
agreements with StrataSys, which purported to be a Florida-based computer technology and
consulting business, but which was owned by Dominick Parlapiano and was a partner of BDO’s.
C. The False Financials

27. The Principals used a series of means to create false financials, each one of which
should have been detected by BDO. In some instances, the Principals inflated the receivables
owed under factoring agreements entered into with companies over which they had influence or
control and sold them to Bankest based on the inflated figures. For example, Bankest purchased

from Capital what purported to be nearly $50 million in receivables from Joy, in which some of

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the Principals had an equity interest. In fact, Joy only owed Capital $5 million and even that
amount was of questionable collectibility.

28. In other instances, the Principals made up receivables altogether and caused
Bankest to make equity investments in and/or unsecured loans to Start-up or poorly-capitalized
corporations controlled by the Principals using funds obtained based on the false representations
of the existence of those receivables. For example, Bankest made unsecured loans of $25
million and $32 million to ENA and StrataSys, respectively, each of which are entities in which
the Principals had an interest in and/or control over. Even if the receivables invented by the
Principals as security for the loans were genuine, these loans still would have violated the
parties’ agreements since the funds were not actually used to purchase receivables. These loans
were not repaid.

29. Each of these transgressions, among a host of others leading to the $170 million
loss, is detailed in a 50-page, December 4, 2003 Grand Jury indictment (the “Indictment”)
against, among others, Capital’s Principals. The case against these Principals — those that have
not already pleaded guilty — is pending, with investigations against other potential defendants
ongoing.

D. BDO’s Selection As Bankest’s “Independent” Auditor

30. Bankest’s flagrantly false financials should have been discovered earlier, and
would have had an independent, neutral auditor been selected. The Principals and BDO,
however, made sure that no such neutral auditor was chosen.

31. As noted in the Indictment, BDO had audited the financial statements of
Bankest’s de facto predecessor, BRFFC, for fiscal years 1995 and 1996. Dominick Parlapiano

had a social relationship with Sandy Lenner, the BDO audit partner in charge of Bankest’s

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account. Finally, BDO also provided additional accounting services to Bankest upon formation,
including corporate structuring advice and accounting consultation during the years it served as
Bankest’s auditor. The Principals were thus long-term clients of BDO.

32, Moreover, BDO was, at the time, actively seeking to expand its business from one
that merely provided accounting services to a full-fledged finance company that arranged for
capital investment in and in some cases partnered with and/or provided capital to its clients. To
achieve its goal, BDO sought to leverage its accounting relationships with middle-market
companies like Capital and its affiliates by establishing and brokering alliances among them
from which it would take a cut of business generated by alliance members. In fact, BDO did
precisely that — the accounting relationship with the Principals was leveraged into BDO
partnering with StrataSys, an affiliate and factoring client of Capital.

33. Per the Principals’ and BDO’s mutual interests, the parties entered into separate
engagement letters defining their respective obligations in the conduct of the audits of Bankest’s
financials for years ending 1998 through 2002. Per those engagement letters and industry
standards, and in exchange for its audit fees, BDO was charged with
(1) assessing the accounting principles used by Bankest’s internal accountants, (2) obtaining
reasonable assurance that Bankest's financial statements were free of material misstatements and
in conformation with GAAP, (3) alerting Bankest of any reportable conditions, and
(4) examining amounts and disclosures in the Bankest's financial statements. In addition, BDO
specifically committed to “design [its] audit to provide reasonable assurance of detecting errors

or fraud that would have a material effect on the financial statements.”

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E. BDO’s Negligent Conduct of the 1998-2002 Audits

34, BDO’s experience and familiarity with Bankest and its business apparently did
not help it in the Proper conduct of audits of Bankest’s financial statements. Instead, from the
beginning and notwithstanding its own classification of Bankest as a “sensitive” or high risk
client, BDO either willfully or negligently ignored a host of accounting irregularities and red
flags that would have revealed the falsity of the financial statements. Had BDO conducted its
audits of Bankest in accordance with Generally Accepted Auditing Standards (“GAAS”), it
would have detected these irregularities and red flags and expanded its audit testing and
procedures. In failing to do so, BDO breached its obligations as professional accountants and
cost plaintiffs millions.

1. BDO Disregards Warning Signals Warranting Additional Testing

35. A number of immediately apparent aspects of Bankest’s business should have
alerted BDO to the possibility that more substantial testing and risk analysis was warranted. For
example, Bankest was, as a tule, a “refactor,” with Capital or BRFFC (or another Capital-related
entity) serving as the principal factor. Refactoring is an uncommon practice anyway, but here
Bankest was refactoring receivables from its owners’ and managers’ affiliated companies.
Given that Bankest routinely engaged in transactions that were not arms-length, the transactions
deserved greater scrutiny. Instead, BDO accepted — contrary to acceptable accounting
principles and auditing standards — a number of “due to/due from” tests to confirm amounts due
that were signed on both sides by the same person!

36. Second, Bankest’s apparent accounts receivable volume approximately doubled

each year. The systematic and wildly disproportionate growth of the company — including

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growth inconsistent with that of BRFFC, Bankest’s predecessor and BDO’s former client —
was a second indicator that closer examination of Bankest’s receivables was warranted.

37. Third, four full-time employees handled collections of accounts receivable from
1998 through 2002. During this four year period, although the accounts receivable volume was
apparently doubling each year, no new collection employees were hired to handle the additional
volume, which reached as high as $200 million. The obvious lack of employees sufficient to
track down and collect $200 million worth of apparent debt should have raised a red flag to
BDO.

38. Finally, notwithstanding that Bankest’s accounting records were regularly
obscured by the fact that money came in through Capital and thus could not be traced to
individual invoices or accounts receivable without access to Capital’s bank records, the
Principals would not permit BDO to access to Capital’s financial information. When BDO’s
accountants specifically requested, for example, records of payments from an account debtor
(Wal Mart) to a seller (Joy), from a seller (Joy) to the original factor (Capital) and then from the
factor (Capital) to the refactor (Bankest), Capital abjectly refused. BDO never insisted on seeing
Capital’s financials despite the fact that millions of dollars of Bankest’s business went through
Capital. In addition to clearly breaching BDO’s professional duties, BDO’s failure to insist on
reviewing necessary documentation was a violation of its own policy which requires, per its
engagement letter, that it be permitted access to all requested documents, information and
personnel.

39. Taken together, these facts should have caused BDO, were it to conduct its audits
in conformance with GAAS, to independently verify or substantiate accounting entries or

otherwise expand its testing. Instead, and notwithstanding its own classification of Bankest as a

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“sensitive” or high risk audit client, BDO ignored warning signs and failed to customize its audit
to obtain reasonable assurance that Bankest’s financial statements were free of fraud. The failure
to properly design the audit was itself a failure of GAAS. This failure was caused, at least in
part, because no member of the BDO audit team had ever before audited a factoring company,
much less a refactoring company.

2. BDO Ignores Audit Irregularities

40. Passing that BDO should have been aware from the start that malfeasance was
afoot, however, and that BDO should therefore have reacted by increasing its level of review and
testing, BDO actually did become aware of a host of specific accounting irregularities the
moment it began conducting its audits, irregularities that would be repeated throughout each of
Bankest’s financial statements between 1998 and 2002 and BDO’s audits of them. In issuing
unqualified opinions certifying the correctness of Bankest’s financials, BDO ignored these
irregularities in violation of GAAS.

41. The fundamental error with respect to BDO’s audits concerns BDO’s failure to
properly test Bankest’s receivables. Although accounts receivable are not the focus of every
audit, in the case of a factoring or refactoring company, an analysis of accounts receivable
comprises a majority of the audit since receivables are the audit client’s principal asset.

42. In the ordinary course, to verify an audit client’s receivables, an auditor will send
out confirmation letters to its account debtors, asking that the account debtors verify amounts
due and owing. An auditor is not required by GAAS to test every account receivable, merely a
sample sufficient to reasonably determine the validity of the receivables. Initially, pursuant to its

own audit program guidelines, BDO selected twenty-nine debtors to test.

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43. The first irregularity that BDO noted in 1998 was that Bankest (in the form of
Capital’s principals) declined to let BDO test 22 of the 29 account debtors BDO had selected for
testing. That is, after BDO generated its list of the twenty-nine account debtors it felt it
necessary to secure confirmations of debt from to test properly Bankest’s receivables, Bankest
requested that BDO not send confirmations to non-notification customers (those who were not
informed that their receivables were sold), which included all but seven of them.

44. As to the remaining seven account debtors that BDO was permitted to send
confirmations to, BDO received zero confirmations back. This pattern continued through
subsequent audits during which BDO received no or nearly no direct confirmation of debt from
any of the actual debtors.

45. Having failed to get any confirmations from (or else being asked not to seek
confirmations from) any of Bankest’s account debtors, BDO next sought to receive
confirmations that the receivables were valid from the original sellers of the debt, a group
including purported manufacturers like Joy, CD JewelBox, and Perry Biomedical (“Perry”).
Although sellers of debt would have an interest in verifying the debt, rendering their
confirmations inherently less reliable than confirmations from the actual account debtors, BDO
could not even get substantial complete confirmation of the debt from them.

46. Three entities (Joy, Perry and CD JewelBox) were responsible for each of the
twenty-nine largest accounts receivable selected for testing in the 1998 audit. That is, Joy, Perry
and CD Jewel Box were the vendors who apparently sold products or services to the debtors, and
then sold the receivables to Bankest (through Capital). Of these, CD JewelBox and Perry
accounted for approximately $7 million each in receivables, while Joy accounted for

approximately $24 million.

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47. Although CD JewelBox and Perry confirmed the accounts receivable balances
they had sold to Capital (who in turn sold them to Bankest), their confirmations only proved the
suspect nature of a seller confirmation. CD JewelBox ended up being a shell business operated
by Dominick Parlapiano, who provided (or directed the provisions of) the confirmation. Joy,
however, by far the largest factored client, did not return a signed confirmation for the $24
million in receivables it had sold to Capital. Thus, and as a third irregularity, BDO could not get
even a dubious confirmation from the debt’s seller that $24 million of the $38 million it was
testing was actually due and owing.

48. | BDO’s failure to get confirmation from Joy was particularly notable since Joy had
returned similar confirmations, signed by Jeff Barnhill, upon request for audits BDO had
conducted for BRFFC for years ending 1995 and 1996. BDO failed to note any exception,
however, or conduct any further investigation into the now-apparent reasons for Joy’s refusal to
return a confirmation, namely that it did not owe the debt Capital had sold to Bankest.

49. Its efforts having produced no reliable confirmation of any material fraction of
Bankest’s receivables, BDO took another stab at validating Bankest’s financials: BDO
attempted to perform an “alternative procedure” called a “subsequent collections” test. |The
subsequent collections test examines payments actually received for the period immediately
following the audited period, and is generally used only as an alternative procedure.

50. But BDO even failed to require Bankest to produce proper evidence of payments
from third parties while conducting its alternative procedures. In the conduct of its initial audit
for the year 1998, for example, BDO selected a time period of January 1, 1999 through February

12, 1999 to perform a “subsequent collections” test. Of the approximately $38 million in

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receivables originally selected for testing, the auditors tested the receipts of approximately $7.7
million.

51. Although it claims to have reviewed checks paid in from every one of the debtors
whose receivables comprise the tested $7.7 million, there is no record of such checks for the bulk
of those debtors in either BDO’s workpapers or Bankest’s files. In fact, checks from account
debtors do not exist. BDO could not have reviewed them.

52. Instead of confirming subsequent receipts by reviewing the debtors’ checks,
BDO’s auditors instead appear to have relied on client prepared schedules and some limited bank
records of payments from Capital —- owned by the same principals as Bankest, the company
BDO was auditing — to verify debts purportedly satisfied by third-party debtors. That is,
notwithstanding the series of irregularities it had already encountered, BDO nonetheless vouched
for the validity of Bankest’s receivables based entirely on payment schedules prepared by the
Bankest’s management and some minimal bank records provided by Capital.

53. | Moreover, the minimal “records” provided by Capital were woefully incomplete.
In some instances, for example, Capital provided a copy of the front of a check but not the back,
which would have, had the check been deposited, been marked by a bank as received and
circulated for collection. In the majority of other instances, Capital merely provided summary
charts conclusorily stating that monies had been received on a certain account without any
accompanying bank reports, deposit slips or any other bank records that an accountant
conducting a proper, GAAS-conforming audit would have required. Inexplicably, BDO
accepted these summaries as sufficient to confirm debts repaid for its alternative testing

procedures. This was a negligent application of the “subsequent collections” test.

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54. These irregularities continued and indeed were magnified in each subsequent
audit as the amount of purportedly factored receivables grew to over $200 million, including
$100 million or more from Joy alone.

55. At bottom, BDO clearly abdicated its professional responsibilities in the conduct
of its audits of Bankest’s financial statements by failing to obtain any reasonable assurance that
the debts allegedly owed to Bankest were real debts owed by real companies from which
Bankest could realistically expect to collect.

3. BDO Issues Unqualified Opinions

56. Faced with the heap of irregularities that it encountered in the conduct of its audits
and the absence of any real evidence that Bankest’s principal asset was viable, collectible or at
least genuine, BDO, to meet its obligations as a professional accountant, could not offer an
unqualified opinion warranting the accuracy of Bankest’s financial statements.

57. Rather than acknowledge the irregularities in the audit process by qualifying its
opinion or withdrawing from the audit, however, BDO blessed the financial statements by
issuing unqualified opinions certifying their accuracy. In those opinions, BDO claims to have
obtained “reasonable assurance” that the “financial statements are free of material misstatement.”
It claims to have “assessed the accounting principles used and significant estimates made by
management” and to have “evaluat[ed] the overall financial statement presentation.” Finally, it
warrants that the “financial statements . . . present fairly, in all material respects, the financial
position of E.S. Bankest . . . in conformity with generally accepted accounting principles.”

F, BDO’s Conflicts and Incentive

58. | BDO’s reasons for issuing its unqualified opinion were many.

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59. For starters, Bankest required BDO to provide an unqualified opinion because a
qualified opinion would not serve Bankest’s purpose of continuing to attract loans from persons
relying on the audits in making their investment decision. That is, without providing an
unqualified audited financial statement, Bankest stood no chance of getting the financing it
needed to continue its “business.”

60. BDO had additional incentive to look the other way, even beyond the stream of
steady auditing fees. BDO simultaneously served as a consultant to Bankest, reaping additional
“consulting” fees for work that is unclear. If it refused to issue an unqualified opinion, it was
threatened with the loss of not only its audit income, but also of the consulting fees that its work
for Capital and its affiliates generated.

61. More startling still, BDO had a direct, pecuniary interest in approving Bankest’s
financials and maintaining the fagade of legitimacy in Bankest’s business. BDO was a
contractual, “strategic partner” of StrataSys, one of the companies integrally involved in the
scheme to relieve Bankest and its investors of their money. In licensing to StrataSys the rights to
claim affiliation with the “BDO Seidman Alliance” and to use the BDO logo on letterhead and
business cards, BDO generated income from StrataSys by means of a variety of fees including
“licensing fees,” “methodology fees,” “management fees,” “business development revenues,”
and “product development revenues.” Accordingly, and as its principals acknowledged, BDO
“look[ed] forward to a long and mutually prosperous relationship with StrataSys Group LLC.”

62. The prophecy of prosperity was self-fulfilling. Despite being a principal factoring
client of Bankest with a purported $42 million in accounts receivable, StrataSys in fact had no
real factored receivables. As a strategic partner of StrataSys, BDO at least should have known,

or could have discovered, this fact since it had access to StrataSys’ financial information.

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Moreover, BDO did know that StrataSys was in trouble since it could barely pay its licensing
fees to BDO owed under their “Alliance Agreement.”

63. | But BDO nonetheless continued to confirm the validity of Bankest’s financial
statements reflecting millions of dollars of receivables sold by StrataSys to Bankest. Meanwhile,
cash loaned by Plaintiffs in reliance on BDO’s audits was used to pay StrataSys’s BDO-related
fees or else invested in StrataSys in an attempt by the Principals and BDO to take StrataSys
public during the high-tech boom and get even richer. This investment in StrataSys was in direct
contravention of Bankest’s agreement to use the loan proceeds only to purchase receivables for
factoring — agreements BDO was bound to know and examine in its audits.

64. BDO was thus at best conflicted —- it had an incentive to ignore the
uncollectibility of the debts sold by StrataSys and continue the stream of money from Plaintiffs
to Bankest to StrataSys to BDO. Before it became a strategic partner, BDO had entered into a
Non-Disclosure Agreement with StrataSys, pursuant to which BDO requested and accessed all
manner of StrataSys’s confidential information including agreements, financial statements,
proposed advertisements and promotional materials, models, employee and partner information,
and other financial, statistical, and technological information. If BDO was not aware of
StrataSys’s misrepresentations as a result of that investigation, it should have been.

G. The Result of BDO’s Negligence

65. | _BDO’s assurances of the truth of Bankest’s financial statements proved illusory,
and its negligence had significant consequences. As a result of BDO’s negligence, Bankest’s
financial statements materially misrepresented virtually all facets of Bankest’s true financial
position, including by:

(a) overstating receivables by more than $170 million;

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(b) failing to disclose or describe substantial inter-company transfers of cash
occurring between and among Bankest, Capital and its affiliates, disguising the true nature of
those transactions and/or failing to assure there were proper offsetting entries and reconciliations
for them; and

(c) misrepresenting and not disclosing either the existence and/or current
status of numerous extensive insider loans or transfers made by and to Capital and/or its
principals, affiliates or related companies.

66. Individually, each of these errors, omissions, or intentional misstatements reflects
actionable negligence. Collectively, the enormous level of financial misstatements, as to the
both volume and scope of the errors, demonstrate a reckless disregard for accurately stating the
true financial position of Bankest.

67. Of course, if the Noteholders had known the truth, they would never have
purchased the Debenture Notes.

68. The Noteholders who were provided with the BDO audits suffered losses
resulting from improperly stated assets of approximately $140,000,000. Fortunately for these
investors, the great majority assigned their interests in the Debenture Notes to either BESIL or
ESB Finance. Starting in June 2002, after the Bank had sold its interest in Bankest but before the
false financials were discovered, BESIL and ESB Finance accepted assignments of the
Debenture Notes in exchange for an undertaking from ESB Finance. In taking these
assignments, each of BESIL and ESB Finance relied upon the audited financials, a business

purpose of the audit of which BDO was aware.

69, In addition to the Debenture Notes, Bankest executed and delivered to Nassau

Bank a Credit Agreement whereby Nassau Bank agreed to make $30 million in loans to Bankest

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(i.e., the “Bank Line”). In issuing the Bank Line, Nassau Bank relied upon the audited
financials, a business purpose of the audit of which BDO was aware.

70. | BDO knew that its audits would be and were used by a limited group of persons
in addition to its audit client. BDO knew that the audits would be relied on by the Noteholders
and Nassau Bank to decide whether or not to loan money to Bankest, and intended the audits to
reach and influence them in connection with the same, and was further aware that Bankest
intended the audits to reach and influence the Noteholders and Nassau Bank. Indeed as part of
its audits, BDO reviewed the Private Placement Memorandum used to solicit these loans, which
attached the BDO audits. As provided for in the Shareholders’ Agreement, the Bank received
each annual BDO audited financial statement and, also pursuant to the Shareholders’ Agreement,
solicited clients and investors with their aid. Because the Debenture Notes were short term (six,
twelve or eighteen months), investors were also relying on the audits, in addition to deciding
whether or not to invest in the first instance, in deciding whether or not to “roll over” their loans
for additional periods.

71. BDO likewise knew that the audits would be relied on by BESIL and ESB
Finance in deciding whether or not to take assignments of the Debenture Notes from the
Noteholders, intended the audits to reach and influence BESIL and ESB Finance in connection
with the same, and was further aware that Bankest intended the audits to reach and influence
BESIL and ESB Finance. Again, BDO reviewed the restructuring agreement and even agreed as
part of it to discuss the audited financials with BESIL and ESB Finance. BDO was even aware
that PricewaterhouseCoopers LLP (“Price Waterhouse”), in the conduct of an audit of the Bank,

would include “the audited financial statements of E.S. Bankest . . . in the financial statements of

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Espirito Santo Bank, . . . and that [BDO’s] report thereon will be relied upon and referred to by

[Price Waterhouse].”
H. BDO International’s Role

72. BDO International stresses the quality of its global network and the stringent
standards and quality controls imposed and implemented by it on each of its member firms,
including BDO Seidman. It creates and fosters the belief in the investing public, through
statements on its web site and in its Annual Reports, that the audit reports issued by it and its
member firms should be relied on because they are backed by the expertise of its global network,
an expertise that is ensured by the strict quality controls imposed and implemented by BDO
International.

73. Those strict quality controls failed here. BDO’s negligent conduct of the Bankest
audits included a series of systematic failure of standards and quality controls that damaged
Plaintiffs — in other words, the standards and quality controls for which BDO International was
responsible. These included a failure to increase testing or otherwise properly account for
several red flags raised by Bankest’s business and the fact that the vast majority of its business
was “refactoring” through an affiliate; a failure to properly pursue adequate confirmation of
receivables for a business whose sole material asset was receivables; and a failure to adequately
perform an alternative procedure tailored to the specific business of the audit client.

74. | Moreover, BDO International’s failures are not merely an organizational lapse —
they are a failure of its own client. BDO International views its member firms’ clients, including
Bankest, as its own clients, and the revenue derived from these clients as its own revenue. Thus,
according to its web site, “[aJudit and accounting work represented 59% of BDO’s worldwide

fee income in 2003” from “{c]lients rang[ing] from large multi-national listed companies to

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private ones.” BDO International’s duties and knowledge with respect to these clients are
identical to those of its member firms.

75. Inshort, by failing to implement an audit procedure and conduct an audit, through
its member firm, in accordance with GAAS, BDO International failed Bankest, its audit client,
and is therefore equally responsible for damages suffered by Bankest’s investors.

CAUSE OF ACTION
(Professional Negligence, ie. Malpractice)

76. Plaintiffs incorporate by reference the allegations of paragraphs 1 through 75 of
this Complaint as though fully set forth herein.

77. BDO, as a professional independent auditor performing accounting services for
Bankest, had a duty to possess the degree of learning and skill of a professional accountant
practicing in the same locality and under similar circumstances, to use the care and skill as would
be used by reputable professional accountants under similar circumstances, and to use reasonable
diligence and best judgment in accomplishing the purpose for which it was employed. By
agreement and as professional accountants, BDO’s express purpose here was to audit Bankest’s
financials for the years ending 1998 through 2002, and to (1) assess the accounting principles
used by the Bankest’s internal accountants, (2) obtain reasonable assurance that Bankest's
financial statements were free of material misstatements, (3) alert Bankest of any reportable
conditions, and (4) examine amounts and disclosures in the Bankest's financial statements. In
addition, BDO specifically committed to “design {its} audit to provide reasonable assurance of
detecting errors or fraud that would have a material effect on the financial statements.”

78. To achieve its purposes, and satisfy its obligations per agreement and as

professional accountants, BDO was required to conduct its audits of Bankest’s financial

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statements in accordance with GAAS that require that it plan and perform audits to obtain
reasonable assurance about whether the financial statements are free of material misstatement
and in conformance with Generally Accepted Accounting Principles (“GAAP”).

79. BDO failed to use reasonable diligence, adequate care and skill, and best
judgment in attempting to accomplish its purpose by either failing to recognize or else ignoring
the Principals’ patent manipulation of Bankest’s accounting and financial records and failing to
identify and report that such accounting and financial records were not maintained in accordance
with GAAP. BDO’s failure can be traced to its repeated and flagrant deviation GAAS and
Statements on Auditing Standards (codified as AU sections), which are recognized by the
AICPA as the Institute’s interpretations of GAAS. The more flagrant of BDO’s knowing,
intentional and reckless departures from GAAS, detailed above, include:

(a) GAAS standards of reporting require the auditor’s report to “state whether
the financial statements are presented in accordance with generally accepted accounting
principles.” The standards also require that “the report shall identify those circumstances in
which such principles have not been consistently observed.” (GAAS Standards of Reporting,
Standard 1 and Standard 2, AU §§150, 410 and 420.) BDO violated both standards by
incorrectly and recklessly stating that Bankest’s statements were in conformance with GAAP,
and concealing the many specific circumstances in which BDO knew or should have known, that
the statements deviated from GAAP.

(b) BDO failed to remain independent of and objective about its client as
required by GAAS General Standard 2 and the AICPA Code of Professional Ethics. (ET §§54,
55, 102 and AU §150, §220.) BDO’s lack of independence led it to make statements it knew or

should have known to be false in the interest of earning substantial auditing and consulting fees.

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(c) BDO failed to adequately investigate and disclose all of the affiliated and
as related party transactions as required by AU §334. On information and belief, having played a
role in structuring and/or consulting on many of these entities and transactions, BDO knew or
should have known, that Bankest and the Bankest insiders retained control of these entities or
assets and, as such was required as part of its audit to evaluate them fully.

(d) BDO ignored risk factors such as significant related-party transactions,
overly complex organizational structure, highly complex transactions and significant pressure to
obtain additional credit (AU §316.17); risk factors BDO knew existed at Bankest because BDO
participated in advising on and structuring these very matters.

(e) BDO failed to evaluate and note proper disclosure of Bankest’s ability (or
inability) to survive as a going concern, as required by AU §341. The massive concealed debt,
of which BDO was well aware, seriously threatened Bankest's viability as a company. Once _
revealed, the company collapsed almost immediately.

80. In short, and as detailed above, given that BDO had requested but was denied
access to Capital’s bank records; knew that Capital was an affiliated party; knew that BRFFC
was Bankest’s predecessor and that every or nearly every Bankest transaction was funneled
through Capital or a Capital affiliate; was asked not to send confirmations to a majority of the
client’s debtors it had selected for testing; could not get even the sellers of the debts to confirm
the majority of the debt; saw no bank or other reliable record that, after the closing of the audit
period, Bankest was actually paid the money it was allegedly owed by the debtors; and was
conflicted because it was a strategic ally with a purported factored client with a Bankest principal

that was used to falsify the financials, BDO breached its standard of care by issuing an

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unqualified and unjustified opinion that Bankest’s financial statements were accurate and in
accordance with GAAP for each of the years ended 1998 - 2002.

81. The many violations of GAAP that BDO concealed with its incorrect
representations and certifications of conformity were designed to inflate Bankest’s revenue and
net worth and hide the true amount of Bankest’s real receivables from Plaintiffs. BDO’s conduct
in failing to exercise due professional care or competence in auditing Bankest and failing to
perform the audit in accordance with GAAS despite its express representations to the contrary,
and certifying Bankest’s financial statements as in conformance with GAAP when it knew or

should have known, that they were not, caused and contributed to the statements’ containing

significant false information upon which Plaintiffs relied to their detriment. That is, BDO’s

incorrect representations of compliance with GAAP and GAAS misled Plaintiffs into believing
Bankest was the financially healthy and creditworthy company depicted in the financial
statements.

82. BDO intended that its audits reach and influence each of the Noteholders, BESIL,
ESB Finance and Nassau Bank. Further, BDO knew that Bankest intended that BDO’s audits
would reach and influence each of the Noteholders, BESIL, ESB Finance and Nassau Bank and
that Bankest would use the audited financial statements in the placement of the Debenture Notes,
in securing the Bank Line, and arranging for BESIL and ESB Finance to acquire the
Noteholders’ interest in the Debenture Notes.

83. As a direct and proximate result of BDO’s professional negligence, Bankest’s

lenders suffered a loss of no less than $170 million.

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PRAYER FOR RELIEF

WHEREFORE, plaintiffs pray that judgment be entered in their favor and against the

defendants as follows:

A. actual compensatory and consequential damages in an amount to be proven at
trial;

B. punitive damages;

C. such civil penalties as allowed by law;

D. attorneys’ fees and costs of this suit as allowed by law;

E, pre-judgment and post-judgment interest as allowed by law; and

F, such other and further legal and equitable relief as the Court deems just and
proper.

DEMAND FOR JURY TRIAL

Plaintiff hereby demands a trial by jury of all issues so triable.

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Respectfully submitted,
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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a true and correct copy of the foregoing has been
furnished to the parties listed on the attached Service List by hand delivery on those

indicated on the Service List and by United States Mail on the remaining parties, this

Pay of July, 2006.
By: Cate, LiL BL.

fo Counsé)~

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SERVICE LIST
(Banco Espirito Santo International, Ltd. v. BDO Seidman)
In the Circuit of the 11th Judicial Circuit in and Miami-Dade County
Case No. 04-14009 CA 31

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CASE NO.: 04-14009 CA 31

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EXHIBIT B
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IN THE CIRCUIT COURT OF THE ELEVENTH
JUDICIAL CIRCUIT IN AND FOR MIAMI-
DADE COUNTY, FLORIDA
GENERAL JURISDICTION DIVISION
CASE NO. 04-14009 CA 31

BANCO ESPIRITO SANTO INTERNATIONAL,

LTD., ESB FINANCE, LTD. and BANCO

ESPIRITO SANTO S.A. (Nassau Branch),

Plaintiffs,
Vv.

BDO SEIDMAN, LLP and BDO
INTERNATIONAL B.V.,

Defendants.
/

ORDER DENYING DEFENDANT BDO INTERNATIONAL
B.V.’S MOTION FOR JUDGMENT ON THE PLEADINGS

THIS CAUSE is before the Court on Defendant BDO International B.V.’s Motion for
Judgment on the Pleadings, and the Court having reviewed the pleadings and heard oral
argument of counsel, and being otherwise advised in the pleadings, it is hereby

ORDERED AND ADJUDGED that Plaintiffs have adequately pled the elements of
actual agency as to BDO International B.V. and therefore BDO International B.V.’s Motion for
Judgment on the Pleadings is DENIED. Plaintiffs’ complaint as against BDO International B.V.
is limited to a theory of actual agency.

DONE AND ORDERED in chambers are Miami, Miami-Dade County, Florida this cor

day of July, 2004. cONnFo? 1

 

Circuit Court Judge ee er 0
Cc: All counsel of record

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EXHIBIT C
 

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BANCO ESPIRITO SANTO
INTERNATIONAL, LTD., ESB FINANCE,
LTD. and BANCO ESPIRITO SANTO S.A.
(Nassau Branch),

Plaintiffs,

vs.

BDO SEIDMAN, LLP and BDO
INTERNATIONAL B.V.,

Defendants.

 

BDO SEIDMAN, LLP,
Third-Party Plaintiff,
vs.
“VICTOR BALESTRA, et al.,

Third-Party Defendants.

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IN THE CIRCUIT COURT OF THE
ELEVENTH JUDICIAL CIRCUIT, IN AND
FOR MIAMI-DADE COUNTY, FLORIDA

Case No. 04-14009 - CA 31

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HARVEY RUVIN

 
      

ORDER GRANTING DEFENDANT BDO INTERNATIONAL B.V.’S
MOTION FOR DIRECTED VERDICT AND ENTRY OF FINAL JUDGMENT

THIS CAUSE having come on to be considered on February 23, 2007 on Defendant

BDO International B.V.’s Motion for Directed Verdict, the Court having reviewed the Motion |

for Directed Verdict, the Response filed by all the Plaintiffs, having listened to the evidence,

having reviewed the case law that has been submitted by the parties, having conducted its own
 

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research regarding the agency issue under Florida law, having taken the evidence in the light
most favorable to the Plaintiffs, and the Court otherwise being fully advised therein, it is

ORDERED AND ADJUDGED that:

1. During Plaintiffs’ case-in-chief, Plaintiffs failed to introduce evidence
establishing the elements of its claim against BDO International. Therefore, there is insufficient
evidence to raise a question of fact to be presented to the jury. As a result, the jury cannot find
that BDO International is liable to Plaintiffs.

2. Accordingly, BDO International’s Motion for Directed Verdict is hereby
GRANTED.

3. Based on the foregoing, Plaintiffs’ Motion for Judgment against BDO
International is DENIED as moot.

4, It is FURTHER ORDERED AND ADJUDGED that Plaintiffs, Banco Espirito
Santo International, Ltd., ESB Finance, Ltd. and Banco Espirito Santo S.A., take nothing by this
action and that Defendant BDO International shall go hence without day; for which let execution
issue.

DONE AND ORDERED in Chambers at Miami-Dade County, Elorida this ag day of

February, 2007,

 

 

JOSE M. ROBRESUEZ
Circuit Court €

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cc: Mark F. Raymond, P.A. dpigedoss M. Rodrigues

Rhett Traband, P.A,
for distribution to all counsel of record
